Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 1 of 21




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. ________

   HEIDI LOSHBAUGH,

         Plaintiff,

   v.

   State Board For Community Colleges and Occupational Education, a Colorado
   body corporate;
   Byron McClenney, in his official capacity as a Board Member;
   Rollie Heath, in his official capacity as a Board Member;
   Ken Weil, in his official capacity as a Board Member;
   Daniel Villanueva, in his official capacity as a Board Member;
   Russ Meyer, in his official capacity as a Board Member;
   Jim Johnson, in his official capacity as a Board Member;
   Marie-Vittoria Carminati, in her official capacity as a Board Member;
   Presley Askew, in his official capacity as a Board Member;
   Theresa Pena, in her official capacity as a Board Member;
   Kelly O’Dell, in her official capacity as a Board Member;
   Elena Barrera, in her official capacity as a Board Member;
   Everette Freeman, President of the Community College of Denver, in his
   individual and official capacity;
   Rhonda Epper, Provost of the Community College of Denver, in her individual and
   official capacity;
   Patty Davis, Director, Human Resources, Community College of Denver, in her
   individual and official capacity.

        Defendants.
   ______________________________________________________________________

                        COMPLAINT AND JURY DEMAND
   ______________________________________________________________________

         Plaintiff, Heidi Loshbaugh, through her counsel, the law firm of Benezra & Culver,

   P.C., for her Complaint and Jury Demand alleges the following:
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 2 of 21




                                      I. INTRODUCTION

          1.     Plaintiff Heidi Loshbaugh was employed as the Dean of Math and Science

   at the Community College of Denver (hereinafter referred to as “CCD”) from 2011 and

   until she was wrongfully terminated on May 30, 2018. Dr. Loshbaugh complained about

   race discrimination with respect to the hiring of an Assistant Professor in the

   Mathematics Department. Dr. Loshbaugh also complained that the Chair of the CCD

   Mathematics Department, Teresa Adams, had been unlawfully retaliated against and

   demoted by CCD for complaining about race discrimination with respect to the hiring of

   the Assistant Professor. After complaining of discrimination and retaliation, CCD

   removed Dr. Loshbaugh’s job responsibilities and subjected her to a hostile work

   environment which included inaccurate and unfair evaluations of her performance and

   placing her on an unfair and misleading performance improvement plan (“PIP”). Dr.

   Loshbaugh was then fired approximately one week after filing a complaint that she was

   being discriminated and retaliated against with the Colorado Community College

   System (hereinafter referred to as “CCCS”), CCD and a charge of discrimination with

   the Colorado Division of Civil Rights (“CCRD”).

                               II. JURISDICTION AND VENUE

          2.     Jurisdiction is proper in this judicial district because Plaintiff Loshbaugh is

   alleging violations of her rights under Title VII of the Civil Rights Act, as amended, 42

   U.S.C. § 2000, et seq. (hereinafter referred to as “Title VII”); 42 U.S.C. § 1981; the First

   Amendment pursuant to 42 U.S.C. § 1983; the Americans With Disabilities Act of 1990,

   42 U.S.C. § 12101, et seq. (hereinafter referred to as “ADA”); the Age Discrimination in

   Employment Act as amended, 29 U.S.C. § 621, et seq. (hereinafter referred to as the
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 3 of 21




   “ADEA”) and the Family Medical Leave Act, 29 U.S.C. § 2615 (a), et seq. (hereinafter

   referred to as “FMLA”).

          3.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),

   because the unlawful acts giving rise to Dr. Loshbaugh’s claims occurred within the

   jurisdiction of the United States District Court for the District of Colorado.

          4.      Plaintiff Loshbaugh has complied with all of the administrative, jurisdictional,

   and legal prerequisites for the filing of this action. Specifically, Plaintiff Loshbaugh has

   filed a charge of unlawful discrimination and retaliation with the CCRD, alleging race,

   gender, and national origin discrimination and unlawful retaliation. Plaintiff has also timely

   served a Colorado Governmental Immunity Act Notice.

                                           III. PARTIES

          5.      Plaintiff Heidi Loshbaugh is a resident of Denver, Colorado.

          6.      The State Board for Community Colleges and Occupational Education

   (“Board”), an agency of the State of Colorado, governs CCCS. Defendant CCD is one

   of thirteen colleges in the CCCS system.

          7.      Defendants Byron McClenney, Rollie Heath, Ken Weil, Daniel Villanueva,

   Russ Meyer, Jim Johnson, Marie-Vittoria Carminati, Presley Askew, Theresa Pena,

   Kelly O’Dell, Elena Barrera, are members of the Board and have been sued in their

   official capacities only.

          8.      Defendant Everette Freeman is the President of CCD, and Dr.

   Loshbaugh’s former supervisor. He is a resident of the State of Colorado.

          9.      Defendant Rhonda Epper is the Provost of CCD and Dr. Loshbaugh’s

   former supervisor. Dr. Epper is a resident of the State of Colorado.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 4 of 21




         10.    Defendant Patty Davies is the Human Resources Director of CCD. Ms.

   Davies is a resident of the State of Colorado.

                                IV. GENERAL ALLEGATIONS

         11.    Dr. Loshbaugh commenced her employment with CCCS as Dean of Math

   and Science Department of CCD in 2011. From April 2012, through April of 2017, Dr.

   Loshbaugh received performance evaluations with ratings that ranged from exceeds

   expectations to exemplary.

         12.    Dr. Loshbaugh received merit increases in each and every year of her

   employment between 2012 and 2017.

         13.    At the end of April, 2017, Dr. Loshbaugh received yet another exemplary

   performance review. Provost Dr. Rhonda Epper noted in the evaluation that Dr.

   Loshbaugh was a huge asset to CCD, stating: “I appreciate Heidi’s willingness to take

   on new challenges with enthusiasm, and her commitment and passion she shows our

   students every day.” In the April, 2017, evaluation, Dr. Epper applauded Dr. Loshbaugh

   for receiving a $3 million dollar United States Department of Education grant and for

   meeting the “successful launch of CCD’s Math Pathways Program.”

         14.    Beginning in spring, 2017, Dr. Loshbaugh was part of a math faculty

   selection process to fill four vacant positions in the CCD Math Department. Dr.

   Loshbaugh; CCD Math Department Chair, Teresa Adams; and the hiring committee,

   recommended as finalists a Latina, a Latino, a middle-aged Asian-American female,

   and a male immigrant from Viet Nam. The candidate who ranked fifth (and who was not

   a finalist) was a gay, white man; the sixth ranked candidate was an immigrant from
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 5 of 21




   Asia. CCD did not hire these finalists, or other higher ranked candidates who were also

   in protected classes, including two white females over the age of 50.

         15.    On July 7, 2017, at CCD President Dr. Everette Freeman’s direction, CCD

   informed Ms. Adams that it was going to hire Dr. Percy Makita, a straight, black male

   who was under 40 years of age. Dr. Makita had ranked tenth out of fourteen qualified

   candidates. Freeman and CCD hired this individual based upon his race.

         16.    In the Position Statement that CCD filed with the CCRD in response to Dr.

   Loshbaugh’s Charge of Discrimination and Retaliation, CCD admitted that Dr. Makita

   was selected in part because of his race.

         17.    On May 11, 2017, Dr. Loshbaugh complained about the discriminatory

   hiring process to CCD CFO Duane Risse. Dr. Loshbaugh complained about race

   discrimination in the hiring process to Provost Rhonda Epper on May 19, 2017, and

   again on May 24, 2017. Dr. Loshbaugh complained to Risse and to Epper that racial

   preferences were driving a discriminatory hiring process. Dr. Loshbaugh explained that

   qualified candidates were being passed over and she complained that race was used to

   as the basis for hiring a less well-qualified candidate. Dr. Loshbaugh also stood up for

   the unsuccessful candidates, all of whom belonged to protected classes, associating

   herself with them. Based on this association and in retaliation for her complaints about

   race discrimination, CCD launched a campaign of discrimination and retaliation against

   Dr. Loshbaugh beginning shortly after her complaints to Risse and Epper.

         18.    The reaction to Dr. Loshbaugh’s complaints of race discrimination was

   swift. On May 31, 2017, Patty Davies and Rhonda Epper retaliated against Dr.

   Loshbaugh by adding an addendum to her exemplary April 25, 2017, performance
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 6 of 21




   review. The addendum raised new issues which had never previously been brought to

   Dr. Loshbaugh’s attention and which were highly critical of her performance. Among

   other things, the addendum broadly criticized Dr. Loshbaugh’s supervisory and

   leadership skills, which were, of course, the same leadership and supervisory skills for

   which she had just weeks earlier received an exemplary review on April 25, 2017.

          19.    On June 22, 2017, Dr. Epper sent Dr. Loshbaugh and email in which she

   falsely accused Dr. Loshbaugh of “undermining [her] . . . . directives.” Dr. Epper

   claimed that Dr. Loshbaugh had undermined her by offering an employee a new

   position with the CCD CCTE Tutoring staff. However, in that same email, Dr. Epper

   also admitted that Dr. Loshbaugh had approached her about filling the position and that

   Epper had supported it.

          20.    On July 10, 2017, Dr. Loshbaugh again complained to Dr. Epper that

   hiring Dr. Percy Makita based on his race was a violation of federal and/or state law.

   Dr. Epper responded that Dr. Freeman had made the decision to go forward with the

   hire and that his decision was final.

          21.    Teresa Adams complained that CCD engaged in discrimination in the

   hiring of Dr. Makita during July and August of 2017. On August 21, 2017, Ms. Adams

   sent an email criticizing the use of race in the hiring process.

          22.    Dr. Epper instructed Dr. Loshbaugh to tell Teresa Adams that she would

   be reprimanded for her email. Over objection, Dr. Loshbaugh complied. On August 23,

   2017, Dr. Epper informed Dr. Loshbaugh that CCD was going to demote Teresa Adams

   from Chair of the Department to a professorship position. Dr. Loshbaugh then

   complained that Teresa Adams was being unlawfully retaliated against for her complaint
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 7 of 21




   of race discrimination and attempted to convince Dr. Epper not to retaliate against her.

   Dr. Epper refused and instructed Dr. Loshbaugh to proceed with the demotion.

          23.    On August 23, 2017, Dr. Loshbaugh informed Teresa Adams that she was

   being demoted. After Dr. Loshbaugh complained about the unlawful demotion of

   Teresa Adams, Defendants began discriminating against Dr. Loshbaugh based upon

   her association with Teresa Adams. Defendants also retaliated against Dr. Loshbaugh

   for her complaint that CCD retaliated against Adams for her complaint of discrimination.

          24.    In July of 2017, Dr. Loshbaugh’s mother had major spinal surgery and in

   August of 2017, Dr. Loshbaugh’s father was diagnosed with pancreatic cancer.

          25.    Dr. Loshbaugh informed Dr. Epper of her parents’ disabilities and applied

   for and received intermittent FMLA leave beginning on August 10, 2017. Between

   August and the end of November of 2017, Dr. Loshbaugh took a total of ten days of

   FMLA leave.

          26.    In August of 2017, Dr. Epper reassigned most of Teresa Adams’ job

   responsibilities to Dr. Loshbaugh, including the supervision of all of Ms. Adams’ 18 full

   time professors and 45 adjuncts. These duties were added to Dr. Loshbaugh’s already

   demanding supervisory workload. Five of the full-time professors were brand new,

   which meant significant onboarding responsibilities in addition to routine supervision.

   As a result, during the 2017 and 2018 academic year, Dr. Loshbaugh had 28 direct

   reports and approximately 140 total employees that she supervised indirectly. Dr.

   Loshbaugh’s repeated requests for assistance with this heavy workload from Dr. Epper

   were ignored.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 8 of 21




          27.    On September 12, 2017, Dr. Epper falsely accused Dr. Loshbaugh of

   failing to limit the assignment of faculty “overload” hours. Overloads occur when faculty

   members are assigned to teach more than 15 credit hours. In the Math Department, the

   largest enrolled department at CCD, the shift to a new curriculum structure known as

   “Math Pathways” required almost 100 new sections in the fall of 2016 and the hire of 16

   additional adjuncts. In the fall of 2017, the Department hired more than 15 additional

   adjuncts, as well as the five new full-time hires in 2017 and 2018. However, between

   increasing demand, and the creation of many new sections, there were still not enough

   math faculty to meet the demand. This led to the need for many mathematics faculty

   members to teach overloads. Dr. Loshbaugh notified Dr. Epper of the necessity to

   require faculty overloads.

          28.    During her October 20, 2017, mid-year review, Dr. Epper directed Dr.

   Loshbaugh to remove herself from her role as a co-chair on the Learning Support

   Taskforce despite the significant time she’d already spent leading that project. Removal

   of this responsibility did not significantly impact Dr. Loshbaugh’s workload. Instead, Dr.

   Epper stripped Dr. Loshbaugh of this responsibility in retaliation for her previous

   protected complaints. Dr. Epper told Dr. Loshbaugh that if she did not remove her role

   in the Taskforce from her performance goals, she would be penalized in her final

   evaluation. Despite withdrawing from the role, and removing it from her goals, as Dr.

   Epper demanded, in the final evaluation of Dr. Loshbaugh, Dr. Epper still reviewed her

   performance on the Taskforce, and unfairly claimed she had done poorly in that role.

   Dr. Loshbaugh’s peers who were co-chairs of the Taskforce and who did not complain

   of discrimination received no negative performance evaluation. According to CCD’s
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 9 of 21




   performance supervision guidelines, employees are not supposed to be evaluated on

   performance goals that had been removed during the evaluation cycle.

          29.    Even though Dr. Loshbaugh was forced to withdraw from the Taskforce,

   shockingly, in its Response to Dr. Loshbaugh’s charge of discrimination filed with the

   CCRD, CCD asserted that Dr. Loshbaugh voluntarily resigned from the task force.

   Responsibilities for the Taskforce were reassigned to a younger employee who had not

   complained to CCD of discrimination or retaliation.

          30.    After Dr. Loshbaugh’s complaints, Dr. Epper removed other job

   responsibilities from Dr. Loshbaugh’s duties including supervision of the Tutoring

   Center; and direct responsibility for the Science Tutoring Program, which Dr. Loshbaugh

   had initiated. The removal of these job responsibilities did not significantly reduce Dr.

   Loshbaugh’s workload. Instead, Dr. Epper removed these responsibilities as part of her

   campaign of retaliation against Dr. Loshbaugh.

          31.    Dr. Loshbaugh’s father died on November 15, 2017.

          32.    In February of 2018, Dr. Epper reprimanded Dr. Loshbaugh for going to

   Front Range Community College for a STEM conference. However, attendance at this

   conference was essential to Dr. Loshbaugh’s performance of her job responsibilities

   and was part of the annual performance goals that had previously been approved twice

   by Dr. Epper. Despite this, Dr. Epper claimed that Dr. Loshbaugh had been “out of the

   office too much and [should not travel].”

          33.    On February 13, 2018, Dr. Epper approved Dr. Loshbaugh’s attendance at

   an HSI STEM conference in Dallas, Texas, stating “sounds great.”
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 10 of 21




          34.    On February 28, 2018, the day Dr. Loshbaugh returned from the HSI

   STEM conference, Dr. Epper reprimanded Dr. Loshbaugh for “being out of the office too

   much.”

          35.    On February 28, 2018, Dr. Epper sent Dr. Loshbaugh an email

   complaining about her performance. Dr. Epper’s concerns as set forth in the email were

   clearly pretextual. Dr. Loshbaugh provided documentation showing Dr. Epper that her

   criticisms were incorrect and unsubstantiated and that Dr. Loshbaugh was performing at

   her usual exceptional level of performance. Dr. Epper did not respond to let Dr.

   Loshbaugh know that there were any issues or that she disagreed with Dr. Loshbaugh’s

   response. Dr. Epper promised to follow up on the alleged issues in a one-on-one

   meeting but never did.

          36.    On March 2, 2018, Dr. Loshbaugh again complained to Dr. Epper that her

   workload was unmanageable. However, Dr. Epper refused to address Dr. Loshbaugh’s

   workload and continued to heavily scrutinize her performance.

          37.    On March 16, 2018, Dr. Epper gave Dr. Loshbaugh a Performance

   Improvement Plan (“PIP”). The concerns set forth in the PIP were false, unfair or

   inaccurate. For example, Dr. Loshbaugh was penalized over the contents of one

   mathematics examination despite the fact that approximately 100 mathematics

   examinations are administered each semester and as Dean, Dr. Loshbaugh has no

   responsibility for reviewing them.

          38.    Also in the PIP, Dr. Epper penalized Dr. Loshbaugh again for overloads

   that were the result of the increasingly understaffed Math Department. However, Dr.

   Epper had received Dr. Loshbaugh’s overload request three months’ prior in December
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 11 of 21




   of 2017; these contracts with the Mathematics Department faculty had been approved

   by Dr. Epper. No new overload requests had been submitted to Dr. Epper.

          39.    In the PIP, Dr. Loshbaugh was accused of submitting late performance

   documentation for her subordinates but in fact Dr. Loshbaugh submitted all but one of

   the 28 evaluations within the timeframe typically expected at CCD. In contrast, other

   academic deans who had not complained about discrimination and retaliation were

   given flexibility with respect to similar administrative deadlines. The year before, when

   Dr. Loshbaugh submitted late documentation, she was not given any negative

   feedback, and received an exceptional performance review. Further, another dean who

   did not submit documentation by the provost’s deadline received no penalty nor even

   communication that the deadline had passed.

          40.    Finally, in the PIP, Dr. Epper accused Dr. Loshbaugh of bullying

   employees. However, when Dr. Loshbaugh inquired, Dr. Epper admitted that she could

   not remember the name of a person who had complained.

          41.    Patty Davies subsequently informed Dr. Loshbaugh that the accusation of

   bullying came from one of Dr. Loshbaugh’s direct reports who was a poor performer and

   had been out on leave for about five weeks prior to the PIP meeting, in which Ms.

   Davies first accused Dr. Loshbaugh of bullying. The employee was on a Corrective

   Action Plan because of routine and flagrant errors she committed in completing faculty

   contracts. Dr. Epper knew Dr. Loshbaugh had been working with the employee since

   January of 2016 to improve her abysmal performance and was thus aware that Dr.

   Loshbaugh’s criticism of this employee’s performance could have resulted in false

   accusations of bullying.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 12 of 21




          42.    In further violation of CCD’s typical practice with respect to supervision

   and evaluation, many of the issues included in the PIP had never been brought to Dr.

   Loshbaugh’s attention before.

          43.    On April 12, 2018, Dr. Loshbaugh asked Dr. Epper when she could be

   removed from the PIP and Dr. Epper replied that she was not sure but that it might be in

   three months.

          44.    The PIP stated that Dr. Loshbaugh should contact Dr. Epper if she needed

   assistance in accomplishing the expectations set forth in the PIP. Despite Dr.

   Loshbaugh’s repeated requests for feedback and assistance, Dr. Epper provided none.

   Dr. Epper confessed on multiple occasions that even though she was Dr. Loshbaugh’s

   supervisor she was “unfamiliar” with the details of the PIP. Dr. Epper also did not

   provide Dr. Loshbaugh with guidance to help her comply with vague and unclear

   directives that were included in the PIP.

          45.    On April 17, 2018 and again on May 17, 2018, Dr. Loshbaugh complained

   to CCD’s new CFO, Kathy Kaoudis, about illegal discrimination in the hiring of Dr.

   Makita and that Dr. Loshbaugh had been retaliated against after complaining about

   discrimination.

          46.    On April 24, 2018, Dr. Loshbaugh received a “Needs Improvement”

   performance evaluation, despite acknowledging “significant improvement in Heidi’s

   communication and outreach,” and her huge contributions to CCD over the 2017 and

   2018 academic year. The evaluation conflicted with CCD’s personnel evaluation

   manual which direct that a Needs Improvement evaluation must be holistic in its

   assessment of an employee’s performance over the entire performance cycle, focus on
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 13 of 21




   significant performance duties rather than minor details, and provide narrative evidence

   for actions.

          47.     On May 23, 2018, Dr. Loshbaugh filed a charge of race, sex, national

   origin and age and disability discrimination and unlawful retaliation with the Colorado

   Civil Rights Division.

          48.     On May 24, 2018, Dr. Loshbaugh filed with CCCS an internal complaint of

   discrimination based upon gender and age and based upon her association with Latino

   and Asian candidates for employment, some of whom were immigrants as well as a

   candidate who was female and over the age of 40 and a gay candidate.

          49.     Dr. Loshbaugh’s internal complaint also asserted that she had been

   retaliated against for her previous complaints regarding race discrimination. Dr.

   Loshbaugh also complained that she had been retaliated against for her use of FMLA

   leave and based upon her association with her disabled parents.

          50.     Dr. Loshbaugh submitted her complaint to CCCS Associate Vice

   President, Christina Cecil; CCCS Legal Counsel Angela Gramse, and CCCS Civil

   Rights Investigator Daniel Kast.

          51.     On May 30, 2018, only one week after filing her complaints of

   discrimination and retaliation with the CCRD and internally with CCD, Dr. Loshbaugh

   was summoned to a meeting with Provost Rhonda Epper and CCD HR Director, Patty

   Davies. Dr. Epper and Ms. Davies told Dr. Loshbaugh that she was being terminated

   effective immediately. Dr. Epper and Ms. Davies presented Dr. Loshbaugh with a

   Settlement Agreement and Release. Dr. Epper told Dr. Loshbaugh that if she signed the

   Release, CCD would characterize her termination as a resignation and that Dr. Epper
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 14 of 21




   could then support her in her “future career.” The obvious inference is that Dr. Epper

   would not support Dr. Loshbaugh if she did not release her claims.

                                   V. CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                Unlawful Discrimination and Retaliation in Violation of Title VII
                                 (against Defendant Board)

          52.     Plaintiff hereby incorporates Paragraphs 1 through 51 as though fully

   alleged herein.

          53.     Plaintiff Loshbaugh engaged in protected activity under Title VII of the Civil

   Rights Act by opposing Defendant’s discriminatory and retaliatory policies and

   practices. Defendant knowingly and willfully engaged in illegal employment policies and

   practices in retaliation against Plaintiff Loshbaugh for engaging in this protected activity.

          54.     Plaintiff Loshbaugh associated with and advocated on behalf of protected

   class employees.

          55.     Plaintiff Loshbaugh was discriminated against by the Defendant based

   upon this association and advocacy.

          56.     The illegal employment practices and policies to which Plaintiff Loshbaugh

   has been subjected include, but are not limited to the following: (a) subjecting Plaintiff

   Loshbaugh to a hostile and offensive work environment; (b) removal of job

   responsibilities; (c) subjecting Plaintiff Loshbaugh to an unwarranted and inaccurate PIP

   and Needs Improvement performance evaluation and (d) terminating Plaintiff

   Loshbaugh’s employment.

          57.     Defendant’s actions as described herein were willful and wanton and

   taken in reckless disregard for Plaintiff Loshbaugh’s protected rights and feelings.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 15 of 21




            58.   Defendant’s failed to exercise reasonable care to prevent and correct

   promptly any unlawful harassing behavior.

            59.   Plaintiff Loshbaugh attempted to take advantage of preventative and

   corrective opportunities provided by the Defendant’s to otherwise avoid harm.

            60.   Plaintiff Loshbaugh has suffered injuries and damages as a result of the

   aforementioned discriminatory and retaliatory acts of the Defendant’s that should

   include lost wages, lost benefits, compensatory damages, and her attorney fees and

   costs.

                              SECOND CLAIM FOR RELIEF
             Discrimination and Retaliation in Violation of 42 U.S.C. § 1981
   (Against Defendants Byron McClenney, Rollie Heath, Ken Weil, Daniel Villanueva,
     Russ Meyer, Jim Johnson, Marie-Vittoria Carminati, Presley Askew, Theresa
    Pena, Kelly O’Dell, Elena Barrera in their official capacities for prospective relief
    only and Defendants Patty Davies, Everette Freeman, and Rhonda Epper in their
                                 individual capacities)

            61.   Plaintiff hereby incorporates Paragraphs 1 through 60 as though fully

   alleged herein.

            62.   As an individual associated with Latino, Asian American and Vietnamese

   applicants for employment, Plaintiff Loshbaugh is a member of a protected class under

   42 U.S.C. § 1981.

            63.   Plaintiff Loshbaugh opposed race discrimination in the hiring of a less

   well-qualified African American applicant for a math faculty position.

            64.   In opposing discrimination on the basis of race, Plaintiff Loshbaugh

   engaged in conduct protected by 42 U.S.C. § 1981.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 16 of 21




          65.    Defendants knowingly and willfully engaged in illegal employment policies

   and practices that have discriminated and retaliated against Plaintiff Loshbaugh, as

   more fully set forth in ¶ 56, supra.

          66.    The Defendants’ actions action as described here were willful and wanton

   and taken in reckless disregard to Plaintiff Loshbaugh’s rights and feelings.

          67.    The aforementioned conduct represents the official custom, policy or

   practice of the Defendants.

          68.    Defendants’ conduct violated clearly established rights of the Plaintiff of

   which reasonable persons in the Defendants’ position knew or should have known.

          69.    As a result of Defendants’ unlawful conduct, Plaintiff Loshbaugh has

   suffered damages, including lost wages and benefits, compensatory damages, and

   attorney fees and costs.

                               THIRD CLAIM FOR RELIEF
      First Amendment Freedom of Speech and Association Pursuant to 42 U.S.C.
                                      Section 1983
   (Against Defendants Byron McClenney, Rollie Heath, Ken Weil, Daniel Villanueva,
      Russ Meyer, Jim Johnson, Marie-Vittoria Carminati, Presley Askew, Theresa
    Pena, Kelly O’Dell, Elena Barrera in their official capacities for prospective relief
    only and Defendants Patty Davies, Everette Freeman, and Rhonda Epper in their
                                  individual capacities)

          70.    Plaintiff hereby incorporates Paragraphs 1 through 69 as though fully

   alleged herein.

          71.    Plaintiff Loshbaugh exercised her right to freedom of speech as afforded

   by the First Amendment to the United States Constitution by speaking out about matters

   of public concern when she opposed discrimination by CCD against other employees

   and applicants for employment based upon race and when she opposed retaliation

   against Teresa Adams for her complaint of race discrimination.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 17 of 21




             72.   Plaintiff Loshbaugh’s speech was not made pursuant to her official job

   duties.

             73.   Plaintiff Loshbaugh associated with CCD employee Teresa Adams who

   also complained of race discrimination with respect to the hiring of Dr. Makita.

             74.   Defendants’ intentionally and willfully retaliated against Plaintiff Loshbaugh

   for exercising her freedom of speech and association by subject her to illegal

   employment practices and policies as set forth in ¶ 56, supra.

             75.   Defendants’ retaliatory conduct was substantially motivated by Plaintiff

   Loshbaugh’s exercise of freedom of speech and association.

             76.   Defendants’ conduct represented the official custom, policy or practice of

   Defendants.

             77.   Defendants’ conduct violated the clearly established rights of Plaintiff

   Loshbaugh which reasonable persons in Defendants position knew or should have

   known.

             78.   As a result of Defendants’ misconduct Plaintiff Loshbaugh suffered

   damages, including lost wages, compensatory damages, punitive damages against the

   individually named Defendants and has occurred attorneys fees and costs.

                              FOURTH CLAIM FOR RELIEF
                   Disability Discrimination in Violation of the ADA
   (Against Defendants Byron McClenney, Rollie Heath, Ken Weil, Daniel Villanueva,
     Russ Meyer, Jim Johnson, Marie-Vittoria Carminati, Presley Askew, Theresa
    Pena, Kelly O’Dell, Elena Barrera in their official capacities for prospective relief
                                           only)

             79.   Plaintiff hereby incorporates Paragraphs 1 through 78 as though fully

   alleged herein.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 18 of 21




          80.    The ADA, 42 U.S.C. Section 12101, et seq., prohibits employment

   discrimination based upon disability and the terms, conditions, promotional

   opportunities, salary, benefits and classification of its employees. The ADA also

   prohibits employment discrimination based upon an employee’s association with a

   disabled person.

          81.    Plaintiff Loshbaugh was associated with disabled persons including her

   father who suffered from pancreatic cancer and her mother who suffered from disabling

   spinal cord and related neurological conditions.

          82.    Defendants subjected Plaintiff Loshbaugh to illegal employment practices

   and policies as set forth in ¶ 56, supra.

          83.    Defendants’ actions as described herein were willful and wanton and

   taken in reckless disregard for Plaintiff Loshbaugh’s protected rights and feelings.

          84.    As a proximate result of Defendants’ discriminatory actions, Dr.

   Loshbaugh suffered lost wages, compensatory damages and has incurred attorneys

   fees and costs.

                              FIFTH CLAIM FOR RELIEF
                       Family Medical Leave Act Discrimination
                            29 U.S.C. Section 2601, et seq.
      (Against Board and Defendants Patty Davies, Everette Freeman, and Rhonda
                         Epper in their individual capacities)


          85.    Plaintiff hereby incorporates Paragraphs 1 through 84 as though fully

   alleged herein.

          86.    Plaintiff applied for and was granted FMLA leave based upon the serious

   health conditions of her close family members. Plaintiff complied with the FMLA Notice,

   Medical Certification and other reporting requirements.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 19 of 21




          87.    Plaintiff was subjected to illegal employment policies and practices as set

   forth in ¶ 56, supra, for having asserted her FMLA rights.

          88.    Defendants’ actions as described herein were willful and wanton and

   taken in reckless disregard for Plaintiff Loshbaugh’s protected rights and feelings.

          89.    As a result of Defendants’ unlawful conduct Plaintiff sustained damages,

   including lost wages, compensatory, liquidated damages and attorney fees and costs.

                               SIXTH CLAIM FOR RELIEF
                         Age Discrimination in Employment Act
                                 29 U.S.C. § 621, et seq.
   (Against Defendants Byron McClenney, Rollie Heath, Ken Weil, Daniel Villanueva,
     Russ Meyer, Jim Johnson, Marie-Vittoria Carminati, Presley Askew, Theresa
    Pena, Kelly O’Dell, Elena Barrera in their official capacities for prospective relief
                                           only)

          90.    Plaintiff hereby incorporates Paragraphs 1 through 89 as though fully

   alleged herein.

          91.    Plaintiff is a member of the class protected by the ADEA, in that at the

   time of the adverse actions taken against her, she was over the age of forty.

          92.    Plaintiff had a good faith belief that her rights under the ADEA were

   violated.

          93.    Plaintiff engaged in protected conduct by complaining to Defendant that

   she was discriminated against on the basis of her age.

          94.    Plaintiff was subjected to illegal employment policies and practices as set

   forth in ¶ 56, supra, for having engaged in protected activity.

          95.    At all relevant times, Plaintiff performed the functions of her job

   competently and was qualified for her position.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 20 of 21




          96.    Defendant treated Plaintiff less favorably than her similarly situated

   counterparts who did not engaged in protected activity.

          97.    Plaintiff discriminated against Plaintiff on the basis of her age, and caused

   her severe injuries, damages, and losses.

          98.    Plaintiff’s conduct was the proximate cause of Plaintiff’s injuries, damages,

   and losses.

          WHEREFORE Plaintiff Loshbaugh respectfully requests that this Court enter

   judgment in her favor and against the Defendants an award

          (a)    injunctive and declaratory relief;

          (b)    damages in such an amount as shall be proven at trial for back-pay and

   damages including lost benefits, wages, promotions, tenure, seniority, lost promotions,

   and other employment opportunities;

          (c)    an order for the Defendant to reinstate Plaintiff Loshbaugh or in the

   alternative to pay front-pay and benefits, including lost benefits in an appropriate

   amount;

          (d)    compensatory damages, including emotional distress as allowed by law;

          (e)    punitive damages as allowed by law;

          (f)    attorney’s fees and costs as provided for by law;

          (g)    pre- and post-judgment interest, costs, expert witness fees; and

          (h)    such other relief as the Court deems just and proper.

                 PLAINTIFF LOSHBAUGH REQUESTS A TRIAL BY JURY
                            ON ALL ISSUES SO TRIABLE.
Case 1:19-cv-01114-WYD-NYW Document 1 Filed 04/16/19 USDC Colorado Page 21 of 21




               Respectfully submitted this16th day of April, 2019.

                                                 BENEZRA & CULVER, P.C.

                                                 /s/ Seth J. Benezra
                                                  __________________
                                                 Seth J. Benezra, Esq.
                                                 John A. Culver, Esq.
                                                 Benezra & Culver,P.C.
                                                 633 17th St., Suite 1450
                                                 Denver, CO 80202
                                                 Telephone: (303) 716-0254
                                                 FAX: (303) 716-0327
                                                 E-mail: sjbenezra@bc-law.com
                                                 Email: jaculver@bc-law.com
                                                 Attorney for Plaintiff

   Plaintiff’s Address
   1680 Yates Street
   Denver, Colorado 80204
